This is said to be an appeal from an order granting plaintiff's motion to set aside the judgment and granting permission to plaintiff to file an amended complaint. There is no record other than a typewritten transcript, which we may assume was prepared in accordance with section 953a of the Code of Civil Procedure. Appellant has not complied with section 953c of the Cole of Civil Procedure, which provides that upon such a record the parties must "print in their briefs, or in a supplement appended thereto, such portions of the record as they desire to call to the attention of the court." The brief for appellant is absolutely deficient in that it contains none of the evidence and contains no part of the record. On the authority of Jones v. American Potash Co., ante,
p. 128, [169 P. 397], and cases there cited, the order is affirmed. *Page 231 